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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


  TODD DAVIDSON, WILBERT                  )
  WIGGINS, GEORGE DOUGLAS, JR.,           )
  CHARLES MAGEE, DARON                    )
  THOMPSON, EUGENE SMITH,                 )
  GEORGE RODGERS, and KENTON              )
  SMITH, on behalf of themselves and      )
  others similarly situated,              )
                                          )
                Plaintiffs,               )
                                          )       1:03-CV-1882-SEB-JPG
        vs.                               )
                                          )
  CITIZENS GAS & COKE UTILITY,            )
                                          )
                Defendant.                )



                              ENTRY ON PENDING MOTIONS


        For a combination of reasons for which responsibility must be borne by

  counsel as well as the Court, this litigation has generated a backlog of

  seventeen motions which must now be attacked. We have examined these

  pending motions, ruled on several and laid out in this order a plan for

  resolution of the remainder, including a schedule to bring final completion to

  this case.1




        1
        Because there are ongoing discovery issues involving a non party,
  Personnel & Family Family Research Services, Inc., and its principal, Dr.
  Roland Guay, we are providing a copy of this entry to them as well.
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  1.    Status Conference

        Defendant has moved the Court to schedule a status conference,

  complaining of Plaintiffs’ unceasing tactics aimed at prolonging discovery and

  expanding the scope of the case in total disregard of previously set deadlines.

  Defendant also complains of Plaintiffs’ recent, untimely addition of an expert

  witness. We concur in the perceived need for a status conference and have

  requested the Magistrate Judge to schedule such a session at the earliest

  practical time. Accordingly, Defendant’s Motion for Status Conference (Docket

  #217) is GRANTED, and a status conference shall occur before Magistrate

  Judge John Paul Godich on Monday, November 21, 2005 at 2:00 p.m. in

  Room #355, U.S. Courthouse, Indianapolis, Indiana. The Magistrate Judge

  shall in the usual fashion report forthwith to the undersigned judge on the

  progress made and actions taken at the status conference, along with any

  recommendations for resolving any remaining substantive disputes as

  promptly as possible.



  2.    Trial and Final Pretrial Conference Schedule

        Given the complications and protracted nature of this litigation to date,

  the current May 15, 2006 trial date appears unrealistic and that date is

  therefore rescinded. Accordingly, trial is hereby reset for July 31, 2006 at

  9:30 a.m. and a final pretrial conference scheduled for July 18, 2006 at

  3:00 p.m. in Room #216, before the undersigned judge. No changes will be

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  made with respect to this trial date absent truly exigent circumstances (i.e.,

  health, death in family, births, etc.).



  3.    Class Certification & Discovery

        Plaintiffs’ Motion for Class Certification was denied with leave to re-file

  following additional discovery. Plaintiffs seek by motion to have discovery

  reopened (Docket #249), apparently aimed at clarifying the number of

  individuals who applied for employment with the Defendant (during the

  relevant time period for purposes of the statute of limitations), the number of

  those applicants who took the competency test and the number of those who

  took the competency test but were not hired by Defendant and accepted a

  settlement as a result of the EEOC conciliation process. Plaintiffs’ (various)

  requests to amend the Complaint to add additional named Plaintiffs, which

  motions the Court has granted, will no doubt spawn a need for additional

  discovery specific to their claims. Expert discovery has been difficult and

  delayed and needs attention. Fact discovery with respect to the competency

  test and its author has also been disrupted and delayed, in part, as we

  understand it, because of certain concerns imposed by the author of the test.

  While the parties are entitled to a sufficient opportunity to develop the

  necessary discovery, the remaining tasks should be narrowly drawn and

  targeted to allow for the completion of process forthwith.




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        The docket reflects Defendant’s longstanding Motion for Summary

  Judgment as well as motions filed by both parties that seek the Court’s ruling

  as to the propriety of various submissions to the record on which a decision

  would be based. In view of the Seventh Circuit’s rulings which have made clear

  that only in unusual circumstances should summary judgment be resolved

  prior to ruling on class certification, we shall resolve the class certification

  issue before ruling on summary judgment. Chavez v. Illinois State Police, 251

  F.3d 612, 629-630 (7th Cir. 2001). Therefore, Plaintiffs’ Motion to Reopen

  Discovery (Docket #249) is GRANTED IN PART, but only through December

  30, 2005, for the purpose of obtaining information and testimony related to

  class certification and the individual claims of the recently added Plaintiffs,

  Jimothy Amos and Sidney Williams. All written discovery (requests for

  production and interrogatories directed to these issues) shall be served no

  later than November 18, 2005 and responses shall be served no later than

  December 23, 2005. Counsel should endeavor to promptly resolve, between

  themselves, any discovery disputes that arise, but if they are unable to do so,

  they should bring the disputes to the attention of the Magistrate Judge

  immediately by telephone conferencing, as opposed to written submissions, to

  allow a prompt resolution.

        Plaintiffs shall file their amended motion for class certification no later

  than January 5, 2006. Defendant’s response shall be filed no later than

  January 23, 2006; Plaintiffs’ reply, no later than January 31, 2006. Since

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  prior briefing on the class certification motion is on file, no extensions of time

  for further briefing will be granted. This process will be facilitated by

  referencing or re-designating supporting materials previously filed, avoiding

  unnecessary duplication of those submissions (the parties’ references or

  citations to such previous submissions should be consistent with the

  references on the electronic docket). Plaintiffs’ Motion for Approval of Class

  Notice (Docket #67) which was filed as a part of their earlier class certification

  motion is therefore DENIED, with leave to re-file as part of the second motion

  for certification. We expect to be able to rule on these motions promptly.

        The parties are directed to confer in an effort to reach agreement,

  consistent with the schedule in this entry, on time limits for the completion of

  expert discovery and any additional discovery relating to the competency test.

  If an agreement cannot be reached, each party shall submit a proposed

  schedule for discussion and resolution at the November 21, 2005 status

  conference before the Magistrate Judge.



  3.    Dr. Roland Guay and Personnel & Family Research Services, Inc.

        Dr. Guay and his company, Personnel & Family Research Services, Inc.

  are not parties to this litigation, but their interests effect, and to a certain

  extent have impeded the progress of discovery. They are the targets of a

  pending Motion to Compel filed by Plaintiffs (Docket #254). We are informed

  that Dr. Guay (and his company) authored and own the competency test at

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  issue in this case and have raised numerous issues regarding confidentiality

  and costs and fees associated with document production and deposition

  testimony. Unfortunately, rather than obtain legal representation or file the

  appropriate motions with the court, Dr. Guay has elected to correspond with

  the Court, specifically with Magistrate Judge Godich, sending unsolicited

  telefaxed letters seeking his assistance in resolving disputes Dr. Guay

  apparently has with Plaintiffs’ counsel’s attempt to obtain third party discovery

  as well as his deposition. This approach is inappropriate; the Court acts on the

  basis of specific motions filed in a particular case. Assuming Personnel &

  Family Research Services, Inc. is a registered corporation, entitled to all the

  benefits and protections of corporate law, it must be represented by an

  attorney and only by an attorney, in connection with any court proceedings.

  Muzikowski v. Paramount Pictures Corp., 322 F.3d 918, 924 (7th Cir. 2003).

        Since neither Dr. Guay nor his company are named parties in this

  litigation, the Court cannot compel their attendance at the November 21,

  2005 status conference. However, an order can issue to compel a third party

  to produce documents in a particular manner and/or attend a deposition, and

  non-compliance can generate an order to compel. For this reason, the Court is

  providing to Dr. Guay and his corporation a copy of this entry to encourage his

  participation in the status conference by telephone, in an effort to resolve the

  pending motion to compel filed by Plaintiff. The corporation by counsel may



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  also attend in the same manner.2 The Court will not accept any further

  unsolicited correspondence from Dr. Guay or his company. We further

  encourage Dr. Guay (or his company) to reconsider their decision not to obtain

  legal representation. At present, his status in this lawsuit is that of a fact

  witness, not an expert witness, and in that context he is entitled only to the

  fees and protections afforded fact witnesses by the Rules of Procedure. He is

  not entitled to payment of expert witness fees. Steps to protect proprietary

  information that may be disclosed in document production or deposition

  testimony in connection with this case can be secured through a protective

  order and violations of confidentiality restrictions are punishable under the

  Court’s contempt powers.



  4.    Summary Judgment

        As indicated above, Defendant’s pending motion for summary judgment

  is directed to the entirety of Plaintiffs’ complaint (Docket #122). However, the

  motion was filed prior to the addition of two named plaintiffs, who have been

  described as applicants for employment, as opposed to employees of

  Defendant. These changes likely have sufficiently altered the posture of this

  case so that Defendant’s pending summary judgment no longer adequately


        2
         If they choose to participate in the status conference on November 21,
  2005 via telephone, Dr. Guay and/or counsel for Personnel & Research
  Services, Inc. should contact the chambers of Magistrate Judge John Paul
  Godich at 317-229-3630 to make appropriate arrangements.

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  addresses all the issues as currently framed. In addition, other motions are

  pending to supplement the record. Assuming the requested supplementation

  is permitted and thereafter occurs, the posture of the case will again be

  effected. Accordingly, Defendant should determine forthwith whether and to

  what extent it may need to amend its motion for summary judgment to address

  new legal issues.

        Accordingly, Defendant shall inform the Court by November 18, 2005

  whether an amended summary judgment will be submitted. If it will, the Court

  will deny as moot Defendant’s pending motion for summary judgment as well

  as all related motions and filings (Docket #164, #175, #180, #192, #199,

  #210 and #211), with leave to re-file the amended summary judgment motion

  and related supporting materials by March 8, 2006, or within 30 days after the

  court’s ruling on class certification, whichever is later. Plaintiffs’ responses to

  the amended summary judgment motion shall be filed within 35 days and the

  reply brief, within 17 days following the filing of the response. Strict adherence

  to these deadlines will be expected (and enforced) in order to permit sufficient

  time for the Court to consider and rule on the amended summary judgment

  motion in advance of the July 31, 2006 trial date. We anticipate that these

  matters will be discussed in detail at the November 21, 2005 status

  conference with the Magistrate Judge and if recommendations are

  forthcoming, the undersigned judge will of course give deferential regard to the

  Magistrate Judge’s views.

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  5.    Additional Pending Motions

        Plaintiffs’ Motion to Consolidate (Docket #168) and Plaintiffs’ Motion for

  Leave to Designate Additional Evidence in Support of Motion to Consolidate

  (Docket #208) are hereby DENIED in view of the recent addition of the named

  Plaintiff in this case.

        Plaintiffs’ Motion to Strike Defendant’s Final Witness List (Docket #196)

  is also hereby DENIED.

        Plaintiffs’ Motion for Leave to File Second Amended Witness List and

  Amended Exhibit List (Docket #222) is hereby GRANTED.

        The pending Motion to Compel has not yet been fully briefed (Docket

  #251). A schedule for the resolution of that motion should be established at

  the November 21, 2005 status conference. If the Magistrate Judge is in a

  position to rule on the motion as well as the motion to compel discovery from

  Dr. Guay, he should do so and advise the Court in his report on the

  conference, along with all other recommendations.

        IT IS SO ORDERED.


                                             _______________________________
           11/08/2005
  Date: ___________________                  SARAH EVANS BARKER, JUDGE
                                             United States District Court
                                             Southern District of Indiana




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